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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
      Plaintiff

        v.                                                 Criminal No. 07-488 (ADC)

 [52] RICARDO MOJICA-CASTRO ,
        Defendant.



               ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is an unopposed Report and Recommendation issued by Justo Arenas,

Chief Magistrate-Judge on January 14, 2009. (Docket No. 1087). In said Report and

Recommendation the Chief Magistrate-Judge recommends that: defendant Ricardo Mojica-

Castro be adjudged guilty of the offenses charged in Count One (T. 21, U.S.C. §§ 846, 841(a)(1),

(b)(1)(C), (b)(2) and 860) inasmuch as, his plea of guilty was intelligently, knowingly and

voluntarily entered.

       Neither party has filed objections to the Chief Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Chief Magistrate-Judge’s Report and Recommendation in its entirety.
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       Accordingly, a judgment of conviction is to be entered as to Count One of the indictment

in the above-captioned case.

       The sentencing hearing is set for April 2, 2009 at 5:45 p.m.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 2nd day of February, 2009.



                                                 S/AIDA M. DELGADO-COLON
                                                 United States District Judge
